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           ORDERED in the Southern District of Florida on September 12, 2023.




                                                          Laurel M. Isicoff
                                                          Chief United States Bankruptcy Judge
___________________________________________________________________________




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

            IN RE:                                          CASE NO.: 23-14531-LMI

            THE SELFIE ROOM MIAMI BEACH, LLC,                Chapter 7


            Debtor.

            ____________________________________/

             ORDER ON CREDITOR PRISMA PROPERTIES, LLC’S MOTION TO COMPEL
               DEBTOR TO PAY POST PETITION RENT, TO COMPEL ASSUMPTION OR
              REJECTION OF UNEXPIRED LEASE AND/OR MOTION FOR RELIEF FROM
                                    AUTOMATIC STAY

                  THIS CAUSE having come before the Court on September 7, 2023, upon the Motion to

           Compel Debtor, THE SELFIE ROOM MIAMI BEACH, LLC (“Debtor” or “Tenant”), to Pay Post

           Petition Rent, to Compel Assumption or Rejection of Unexpired Non -Residential Lease, and/or

           Motion for Relief from the Automatic Stay (the “Motion”) [D.E. 17] filed by Creditor PRISMA

           PROPERTIES, LLC (“Prisma” or “Landlord”), with respect to that certain Retail Lease (the
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“Lease”) for the non-residential real property located at 721 Collins Avenue, Miami Beach, Florida

33139 (the “Premises”), and the Court, having reviewed the Motion and the Response filed by the

Chapter 7 Trustee [D.E. 23], hearing the arguments of counsel, and being otherwise fully advised

in the premises, it is hereby

       ORDERED AND ADJUDGED that:

       1.       The Motion is hereby GRANTED in part, and DENIED in part.

       2.       The Debtor’s possessory rights in the Premises have been extinguished prior to the

                Petition Date herein and, therefore, the Lease not assumable by the Chapter 7

                Trustee under Section 365 nor subject to the protections of the Automatic Stay

                under Section 362 of the Bankruptcy Code as a matter of law.

       3.       As such, Prisma is hereby granted relief from the Automatic Stay imposed by 11

                U.S.C.§ 362 to mitigate its damages related to the Premises.

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Submitted by:
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David H. Haft, Esq., is directed to serve a copy of this Order on all interested parties and to file a
Certificate of Service.
